          Case 1:21-cv-11150-ALC Document 9-41 Filed 01/11/22 Page 1 of 2


     Open Cases per IHO     NYC

NO IHO APPOINTED                  6646
DELEON, EDGAR                      769
MCKEEVER, JAMES                    419
KEHOE, MARTIN                      365
LAZAN, MICHAEL                     315
FARAGO, JOHN                       312
SCHIRO, JEFFREY                    271
WOLMAN, MINDY                      225
MURPHY, LEAH                       213
WHITE, BRENDA                      212
OLINGER, BRUCE                     194
WAHRMAN, ISRAEL                    167
FINKELSTEIN, SHARYN                157
COHEN, DIANE                       147
JOYNER, THERESA                    141
DISPENZA, MARIA                    137
DANIEL, AUDREY                     136
PETERS, GARY                       134
GRONBACH, VANESSA                  115
BRIGLIO, ROBERT                    113
CARTER, SUZANNE                    103
LASSINGER, DORA                     99
MILLMAN, TINA                       97
WEINER, MARC                        95
GUERRA, JEFFREY                     93
ROSKEN, BRAD                        92
LUSHING, SUSAN                      84
BARBOUR, SUSAN                      81
AGOSTON, LINDA                      79
SCHNEIDER, JUDITH                   73
CUTLER-IGOE, ELLEN                  70
LIESE, RICHARD                      70
GEWIRTZ, HARRIET                    70
FEINBERG, RONA                      69
REGENBOGEN, MITCHELL                63
KRAMER, JUDITH                      62
LEDERMAN, NANCY                     58
HOBSON-WILLIAMS, TANYA              55
PEYSER, HELENE                      50
ALMELEH, LYNN                       44
KESTENBAUM, ELISE                   39
AJELLO, DANIEL                      39
ITZLA, AMY                          39
BROWN, JAMES                        36
CHRISTODOULOU, HARRY                35
SILVERSON, JEFFREY                  33
GRONBACH, DAVID                     33
MOSCARIELLO, MARGARET               33
MURRELL, PATRICIA                   30
GIBBONS, RACHEL                     25
RODI, MICHAEL                       23



                                                               Hyman Dec. Ex. OO-1
          Case 1:21-cv-11150-ALC Document 9-41 Filed 01/11/22 Page 2 of 2


FLAME, LANA                      23
RAHMAN, HASHIM                   23
CICCONE, DIANE                   20
CARAVELLO, BARBARA               20
TILLYARD, VIRGINIA               19
EASTWOOD, LISA                   18
COHEN, ANDREA                    18
GLASSER, RANDY                   16
MARQUEZ, ANN                     16
TESSLER, CRAIG                   15
O'CONNELL, MARY                  14
KASSMAN, NED                     13
PORT, BARRY                      12
HAMILTON, TIFFANY                12
SETO, STEPHANIE                  12
PORTER, AMY                      11
WEISS, SEBASTIAN                 11
YOUNG, JENNIFER                  10
GORDON, MELINDA                  10
NORLANDER, KAREN                  9
LEE, LAURIE                       8
BASILE, MICHAEL                   8
HOFFMAN, PETER                    8
RODRIGUEZ, ROBERT                 7
APPLEWHITE, NATASHA               6
IVERS, PAUL                       5
AGRITELLEY, RALPH                 5
VASSILAKIS, THEODORE              4
DEWAN, DEBRA                      4
ABBERBOCK, ELLEN                  4
NISELY, ROBERT                    3
BROMFIELD, BLUETH                 3
KEEFE, JEANNE                     2
MARGOLIS, GENNA                   2
LLOYD, MICHAEL                    1
NAUN, JOHN                        1
MOORE, CHRISTINE                  1
LYNCH, KENNETH                    1
IHO Count                        88
Total Cases                   13435




                                                               Hyman Dec. Ex. OO-2
